        Case 4:18-cv-00905-SWW Document 21-6 Filed 09/19/19 Page 1 of 8


From:            Scott Gershenson
To:              Joshua C. Ashley
Cc:              Cara Kendall
Subject:         Thompson v. UP
Date:            Tuesday, September 17, 2019 11:45:00 AM


Josh,

This email will memorialize our conversation on September 11 regarding Defendant’s objections to
Plaintiff’s Rule 30(b)(6) Notice of Deposition. Please see below and let me know if I have misstated
or missed anything.

1 – No issues here;
2 – We will have to take up the issue re. hot box reader data. Otherwise no other issues;
3 – UP will produce someone to testify re. the job duties/responsibilities/demands for job on June
20, 2017 and July 5, 2017. You are checking to see if UP will produce someone to testify outside of
those specific dates (i.e.: January 1, 2012 to present);
4 – We will have to take this up;
5 – We will have to take this up;
6 – You are checking on this and will follow up with me;
7 – You are checking on this and will follow up with me;
8 – You are checking on this and will follow up with me;
11 – You will withdraw objections and produce a deponent;
12 – You are checking on this and will follow up with me;
13 – We will have to take this up;
14 – We will have to take this up;
15 – You are checking on this (for Dft to produce someone to testify as to the meaning of the docs,
the underlying facts and circumstances contained in the documents) and will follow up with me;
16 – Plaintiff right now is interested in Defendant testifying as to underlying facts and circumstances
contained in Plaintiff’s personnel file, someone testify to Plaintiff’s employment history, and
discipline record. You are checking on this and will follow up with me. Plaintiff willing to pass on
other issues for now but reserves right to notice up later;
17 – You are checking on this and will follow up with me;
18 – Plaintiff is willing to pass for now but reserves right to notice up later;
19 – You are checking on this (for Dft to produce someone to testify as to the meaning of the docs,
the underlying facts and circumstances contained in the documents) and will follow up with me;
20 – You are checking on this and will follow up with me;
21 – You are checking on this (for Dft to produce someone to testify as to the meaning of the docs,
the underlying facts and circumstances contained in the documents) and will follow up with me;
22 – We will have to take this up;
23 – You are checking on this and will follow up with me;
24 – You are checking on this and will follow up with me;
25 – You are checking on this and will follow up with me;
26 – Please confirm whether you will designate a witness to testify re. the names of these individuals
who failed to perform an air brake test during the prescribed time period, the dates and
circumstances of the rule violation, and disciplinary process;
                                                                                                  EXHIBIT
                                                                                                          6
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27 – We will have to take this up;
28 – We will have to take this up;
29 – You are checking on this and will follow up with me;
30 – You are checking to see if you have produced all responsive documents; Defendant will produce
witness to discuss underlying facts of docs;
31 – We will have to take this up; and
32 – We will have to take this up.


Scott M. Gershenson
Schlichter Bogard & Denton, LLP
100 South Fourth Street, Ste 1200
St. Louis, MO 63102
314-621-6115 314-621-7151(fax)
sgershenson@uselaws.com
http://www.uselaws.com

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From:                   Joshua C. Ashley
To:                     Scott Gershenson
Cc:                     Cara Kendall; Joseph P. McKay; Jessica A. Skinner; Genea A. Cloninger
Subject:                RE: Thompson v. UP
Date:                   Wednesday, September 18, 2019 6:09:42 PM


Scott,

Here are the supplements/corrections to your notes that come to mind:

4 – I am checking on this;
11 – We are not withdrawing our objections; as we said in our responses, Union Pacific will produce
someone to address this topic except as protected by privilege or work product, and except as to
rule violations outside the safety context;
27 – I am checking on this;
28 – I am checking on this;

Best,

Josh

JOSHUA C. ASHLEY | ATTORNEY
http://portal.fec.net/fridaylogo.jpg


jashley@fridayfirm.com | Direct: (501) 370-3395 | Fax (501) 244-5308
400 West Capitol Avenue, Suite 2000
Little Rock, Arkansas 72201-3522 | www.FridayFirm.com


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From: Joshua C. Ashley
Sent: Tuesday, September 17, 2019 5:22 PM
To: 'Scott Gershenson' <sgershenson@uselaws.com>
Cc: Cara Kendall <ckendall@uselaws.com>
Subject: RE: Thompson v. UP

Thanks, Scott. I’ll compare my notes and get back to you tomorrow.

Best,

Josh

JOSHUA C. ASHLEY | ATTORNEY
         Case 4:18-cv-00905-SWW Document 21-6 Filed 09/19/19 Page 4 of 8


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From: Scott Gershenson <sgershenson@uselaws.com>
Sent: Tuesday, September 17, 2019 11:45 AM
To: Joshua C. Ashley <JAshley@fridayfirm.com>
Cc: Cara Kendall <ckendall@uselaws.com>
Subject: Thompson v. UP

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Plaintiff’s Rule 30(b)(6) Notice of Deposition. Please see below and let me know if I have misstated
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        Case 4:18-cv-00905-SWW Document 21-6 Filed 09/19/19 Page 5 of 8


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From:                   Scott Gershenson
To:                     Joshua C. Ashley
Cc:                     Cara Kendall; Joseph P. McKay; Jessica A. Skinner; Genea A. Cloninger
Subject:                RE: Thompson v. UP
Date:                   Thursday, September 19, 2019 12:40:00 PM


Thanks Josh. Without a definitive position from Defendant on Topic Nos. 4, 27, and 28, we intend to
include that in our motion. Please let me know as soon as possible if Defendant will produce a
witness to testify on these topics (and produce related documents) without objection.


From: Joshua C. Ashley <JAshley@fridayfirm.com>
Sent: Wednesday, September 18, 2019 6:10 PM
To: Scott Gershenson <sgershenson@uselaws.com>
Cc: Cara Kendall <ckendall@uselaws.com>; Joseph P. McKay <JMckay@fridayfirm.com>; Jessica A.
Skinner <jskinner@fridayfirm.com>; Genea A. Cloninger <gcloninger@fridayfirm.com>
Subject: RE: Thompson v. UP

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